                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                        Plaintiff,

        v.                                                      Case No. 16-CR-156

LISA STADTMUELLER,

                        Defendant.


                        ORDER GRANTING MOTION TO ADJOURN


        Lisa Stadtmueller is charged with Conspiracy to Distribute 100 grams or more of Heroin and

Possession of a Firearm in Furtherance of a Drug Crime. A jury trial is scheduled for December 12,

2016, with a final pre-trial on November 30, 2016. Although counsel was originally appointed for

Stadtmueller under the CJA, she retained counsel almost immediately thereafter and her attorney

entered his appearance on October 24, 2016. On today’s date, counsel for the defendant filed a

request to adjourn and reschedule the case based upon the fact that he had not received discovery,

and he believes that there is a significant likelihood that the matter will be resolved without the need

for a trial. Counsel indicates that he requested discovery from the previous attorney and recently

spoke with her by phone, only to learn that she did not receive his request or a written release from

the defendant. Counsel indicates that the prior attorney would be mailing out discovery today, but

he would not have enough time to prepare for trial.

        Based upon the foregoing, the request for an adjournment is granted and the pre-trial and

trial dates for defendant may be removed from the calendar. The Clerk is directed to reschedule the

case to be heard within approximately 30 days.



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       Further, the Court concludes that the interests of the public and the defendant in a speedy

trial are outweighed by the need to ensure that the defendant has a full and fair trial. Accordingly,

time is excluded pursuant to 18 U.S.C. § 3161(h)(7)(A).

       Dated this 29th     day of November, 2016.

                                              s/ William C. Griesbach
                                              William C. Griesbach, Chief Judge
                                              United States District Court




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